904 F.2d 702Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Amos WALKER, Jr., Plaintiff-Appellant,v.Edward W. MURRAY;  Ellis B. Wright;  George M. Hampton,Defendants-Appellees.
    No. 90-6781.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 23, 1990.Rehearing Denied July 9, 1990.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, Chief District Judge.  (C/A No. 89-459-R).
      Charles Amos Walker, Jr., appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., for appellees.
      W.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Charles Amos Walker, Jr. appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Walker v. Murray, C/A No. 89-459-R (W.D.Va. Feb. 13, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    